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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                               CENTRAL DIVISION


  EAGLE VIEW TECHNOLOGIES, INC., and                       DOCUMENT PRODUCTION
  PICTOMETRY INTERNATIONAL CORP.,                            PROTOCOL ORDER

                 Plaintiffs,
                                                               Case No.: 2:21-cv-00283
  v.
                                                              District Judge Ted Stewart
  NEARMAP US, INC.,
                                                         Magistrate Judge Daphne A. Oberg
                 Defendant.




        Before the court is the parties’ Joint Motion for Entry of Document Production Protocol

 Order, (Doc. No. 57). The motion states the parties have agreed to the terms of this order for the

 collecting, searching, and producing of the parties’ documents in this case, and intend for this

 order to supplement the District of Utah’s Standard Protective Order. Based on the parties’

 stipulation, the court GRANTS the motion and ORDERS as follows:

         1.      Scope. The following protocol and definitions shall supplement the parties’
 responsibilities under the Federal Rules of Civil Procedure, and shall control the production of
 Documents, including electronically stored information (“ESI”) in the matter of Eagle View
 Technologies, Inc. et al. v. Nearmap US, Inc., pending in the District of Utah, Docket No. 2:21-
 cv-00283 (“Litigation”). Nothing herein shall enlarge or affect the proper scope of discovery in
 the Litigation, nor shall anything herein imply that any Documents or ESI produced under the
 terms of this protocol are properly discoverable, relevant, or admissible in this action or in any
 other litigation. Further, nothing in this agreement, including any provisions related to search
 methodology in section 16, shall excuse a party from searching for and producing Documents from
 locations (including both paper and electronic files) it knows or reasonably believes to have
 responsive information.

        2.      Definitions. The following terms shall be defined:



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                 (a)     “Document(s)” means all data compilations, correspondence, e-mails (hard
 copy or in digital form), memoranda, notes, desk calendars, diaries, statistics, letters, minutes,
 contracts, reports, studies, checks, invoices, statements, receipts, returns, warranties, guarantees,
 summaries, pamphlets, books, prospectuses, offers, notations of any sort of (i) conversations, (ii)
 telephone calls, or (iii) meetings or other communications, bulletins, magazines, publications,
 printed matter, photographs, computer printouts, worksheets and all drafts, alterations,
 modifications, changes and amendments of any of the foregoing, tapes, tape recordings,
 transcripts, graphic or aural records, and electronic, mechanical, electric, magnetic, or digital
 records or other tangible materials of whatever kind known to, and in the possession, custody, or
 control of the Producing Party.

                  (b)     “Native File(s)” or “Native Format” means the format ESI was created or
 maintained by its associated software program. For example, Microsoft Excel produces its output
 as “.xls” or “.xlsx” files by default, which is the Native Format of Excel. Microsoft Word produces
 native files with a “.doc” or “.docx” extension, which is the Native Format of Word. Parties shall
 make a reasonable effort to collect, process and produce Native Files (if the Native Files are
 otherwise required to be produced) in a manner such that all files reflect accurate metadata
 associated with the creation and maintenance of the files and are not corrupted by the methods of
 the collection of the data.

                (c)     “Source Code” means information, document, or thing, or portion of any
 document or thing that includes human-readable programming language text that defines software,
 firmware, or electronic hardware descriptions of the Producing Party. Source Code includes text
 files containing Source Code, which shall hereinafter be referred to as “Source Code Files.”
 Source Code Files include, but are not limited to files containing Source Code written in C, C++,
 Java, assembler, VHDL, Verilog, SQL, and similar programming languages. Source Code Files
 further include “make” files, “include” files, script files, “link” files, and other human-readable
 text files used in the generation and/or building of software directly executed on a
 microcompressor, microcontroller, or digital signal processor (DSP). Source Code does not
 include operational versions of software, executable files, including binary executable files, and
 object code files, nor does it include tools such as compilers or linkers. To the extent that the
 parties agree that selected pages of the Source Code may be printed in hard copy, such Source
 Code shall be marked as “CONFIDENTIAL INFORMATION – SOURCE CODE including any
 information, document, or thing, or portion of any document or thing that includes Source Code.

                (d)     “Metadata” means broadly any data about data.

                 (e)     “Static Image(s)” means a representation of ESI produced by converting a
 Native File into a standard image format capable of being viewed and printed on standard computer
 systems. A Tagged Image File Format (TIFF) image is an example of a Static Image.

                 (f)     “Load/Unitization file” means an electronic file containing information
 identifying a set of paper-scanned images or processed ESI and indicating where individual pages
 or files belong together as documents, including attachments, and where each document begins



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 and ends. A Load/Unitization file will also contain data relevant to the individual Documents, for
 example, fielded data and information necessary for the loading of OCR or Extracted Text.

                (g)    “OCR” means the optical character recognition file which is created by
 software used in conjunction with a scanner that is capable of reading text-based documents and
 making such documents searchable using appropriate software.

                 (h)     “Extracted Text” means the text extracted from a Native File and includes
 all header, footer, and document body information.

                 (i)     “Receiving Party” shall mean the party receiving production of Documents
 in response to any request for production of document(s) pursuant to Fed. R. Civ. P. 34(a) or
 pursuant to initial production of documents identified in the party’s Rule 26(a) disclosures.

                (j)     “Producing Party” shall mean the party producing Documents in response
 to any request for production of documents pursuant to Fed. R. Civ. P. 34(a) or pursuant to initial
 production of documents identified in the party’s Rule 26(a) disclosures.

         3.      General Format of Production. Subject to the provisions of paragraph 4,
 Documents that are produced in these proceedings, whether or not such Documents are ESI, shall
 be produced in TIFF form, or native form where necessary, in the manner as described below. The
 parties may also produce color image Documents as Joint Photographic Experts Group (JPEG)
 files provided that the files comply with the specifications of this protocol applicable to TIFF files.
 Notwithstanding the foregoing provisions of this paragraph, the Parties reserve the right to request
 that an alternative format or method of production be used for certain Documents, if such
 Document is not susceptible to production in the format or methods of production addressed
 herein. In that event, the Receiving Party and the Producing Party will meet and confer to discuss
 alternative production requirements, concerns, formats, or methods.

        4.      Production Format. Documents shall be produced according to the following
 formats:

                 (a)    Electronic Production of Paper Documents. Documents that are maintained
 in paper format shall be scanned as black and white images at 300 x 300 d.p.i., in a Group 4
 compression single-page Tagged Image File Format (“TIFFs,” “.tiff format,” or “.tif format”) and
 reflect the full and complete information contained in the original Document. Documents shall
 also be produced with the associated OCR in accordance with 4(c). No Producing Party shall be
 required to ensure that the OCR is an exact duplicate of the contents of the TIFF image; and the
 Receiving Party shall accept the OCR in its “as is” condition.

               (b)     Electronically Stored Information. Except as provided in Paragraph 4(e)
 below, Document images shall be generated from electronic Documents in a Group 4 compression
 single-page “TIFF” image that reflects the full and complete information contained on the original
 document, together with a load file or functional equivalent specified in Paragraph 4(c) that
 contains the metadata as set forth in Paragraph 13, to the extent such metadata exists. In the event


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 a Document is redacted, the Producing Party shall withhold the redacted text for that Document
 and any metadata that is the subject of the redaction. The failure to withhold such text for a
 redacted document by a Producing Party shall not be deemed a waiver of the privilege associated
 with that Document. Extracted text will be provided for the non-redacted text.

                  (c)     Load/Unitization File Structure. The Producing Party shall produce a
 unitization file (“load file”) compatible with Concordance or a comparable document management
 and review system, with delimited data files (commonly .DAT files), for all produced Documents
 in accordance with the following formatting:

        Document Unitization Load File:

        •   Document productions should include a Concordance document load files.
        •   Metadata provided in a delimited file as described below under the subheading of
            “Metadata Load File.”

        OCR and Extracted Text Files (.TXT Files):

        •   Single text file per document containing all the document’s pages
        •   Pages separated by form feed character
        •   Filenames should be of the form:
            <Bates num>.txt, where <Bates num> is the BATES number of the first page in the
            document.

        Image Files:

        •   Single page per image
        •   Single image per file
        •   TIFF is default FORMAT. In the event the Receiving Party requests specific
            documents in a format other than TIFF, the Receiving Party and the Producing Party
            will meet and confer with respect to such production as set forth in Paragraph 3.
        •   Filenames       should     be      of        the      form:   <Bates       num>.<ext>
            Where <Bates num> is the BATES number of the page, and <ext> is the appropriate
            extension for the image format (.jpg, .tif, .png, etc.)

                 (d)     Resolution of Production Issues. Documents that cannot be read because of
 imaging or formatting problems shall be promptly identified by the Receiving Party. The
 Producing Party and the Receiving Party shall meet and confer to attempt to resolve problem(s),
 to the extent the problem(s) are within the Parties’ control.

               (e)     Native Format Documents. The Producing Party shall produce Microsoft
 Excel, Microsoft Access, video, and audio files in native format, unless there is an agreement to
 the contrary. Prior to producing any confidential information as defined in any applicable
 Protective Order entered herein in Native Format, the Producing Party and the Receiving Party


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 shall meet and confer to establish additional procedures, to the extent necessary, for the protection
 of the native information.

                        (i)     Nothing in this Document Production Protocol shall eliminate or
 alter any Party’s obligation to retain native format copies, including associated metadata, of all
 ESI produced in this litigation and original hard copy documents for all non-ESI produced in this
 litigation.

          5.      Production Media. A Producing Party shall produce Documents on a CD-ROM,
 DVD, external hard drive, or such other readily accessible computer or electronic media as the
 Producing Party and the Receiving Party may hereafter agree upon (the “Production Media”).
 Information that shall be identified on the face of the Production Media shall include: (1) the
 production date, and (2) the confidentiality notation required by the Protective Order entered in
 this case, if the media contains Confidential Information, as defined in the Protective Order. The
 face of the Production Media shall also contain the Bates Number range(s) of the Documents on
 the Production Media, and where not practicable to do so, may be provided in an accompanying
 letter. If the Producing Party encrypts or “locks” the production, the Producing Party shall provide
 under separate cover, an explanation of how to decrypt the files.

        At the discretion of the Producing Party, Documents may be produced by File Transfer
 Protocol (FTP) or Secure File Transfer (SFT). When Documents are produced in this manner, the
 Producing Party may forego delivering the Documents to the Receiving Party on Production Media
 as described above.

         6.      Third-Party Software. To the extent that documents produced pursuant to this
 Document Production Protocol cannot be rendered or viewed without the use of proprietary or
 third-party software, the Parties shall meet and confer to minimize any expense or burden
 associated with the production of such documents in an acceptable format, including issues as may
 arise with respect to obtaining access to any such software and operating manuals which are the
 property of a third party.

         7.     Document Unitization. When scanning paper documents into Document Images as
 described in paragraph 4(a), they shall be unitized in a manner so as to maintain the document(s)
 and any attachments, as they existed in their original state, to the extent reasonably possible. For
 electronic documents, the relationship of documents in a document collection (e.g., cover letter
 and enclosures, e-mail and attachments, binder containing multiple documents, or other documents
 where a parent-child relationship exists between the documents) shall be maintained through the
 scanning or conversion process from native format to TIFF, provided however, that the Parties
 shall only be required to present one level of parent child relationship. Document Images
 generated from attachments to e-mails stored in Native Format shall be produced
 contemporaneously and sequentially immediately after the parent e-mail. All hard copy
 documents imaged and produced electronically shall include a unitization file (“load file”) in
 accordance with paragraph 4(c).




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         8.      Paper Documents Containing Fixed Notes. Paper Documents that contain fixed
 notes shall be scanned with the notes affixed, if it can be done so in a manner so as not to obstruct
 other content on the document. If the content of the Document is obscured by the affixed notes,
 the Document and note shall be scanned separately.

         9.      Duplicates. Where a Producing Party has more than one identical copy of an
 electronic document as determined through a verifiable MD5 Hash de-duplication process (i.e.,
 the documents are actual duplicates or duplicates determined by the e-discovery vendor software),
 the Producing Party need only produce a single copy of that document (as long as all family
 relationships are maintained). A Producing Party need not produce the same electronically stored
 information in more than one form.

        10.     Bates Numbering. Each Producing Party shall Bates number its production(s) as
 follows:

                (a)     Document Images. Each page of a produced Document shall have a legible,
 unique page identifier (“Bates Number”) electronically “burned” onto the image at a location that
 does not unreasonably obliterate, conceal, or interfere with any information from the source
 document. The confidentiality legend, if any, shall be “burned” onto each document’s image at a
 location that does not unreasonably obliterate or obscure any information from the source
 document. Redacted documents will be so identified by electronically “burning” the legend
 “Redacted” onto each document’s image at a location that does not unreasonably obliterate or
 obscure any information from the source document.

               (b)     Native Format Documents. Documents produced in Native Format will be
 produced with a placeholder TIFF image. Each TIFF placeholder will contain the Bates number
 and confidentiality designation, if any. Native format files shall be labeled with a Bates prefix,
 number, abbreviated designation under any applicable Protective Order, and original file
 extension.    For example, a native format file named “123.xls” that is designated
 “CONFIDENTIAL - ATTORNEYS EYES ONLY” with Bates label XYZ000001 would be named
 “XYZ000001-CONF-AEO-123.XLS.”

        11.   File Naming Conventions. Each Document Image shall be named with the unique
 Bates Number for each page of document, as set forth in Paragraph 10 above.

          12.    Non-Convertible Files. Certain types of files such as system, program, video and
 sound files may not be amenable to conversion into anything meaningful in TIFF format. Non-
 convertible files will be produced in native format with a placeholder TIFF image. Some examples
 of file types that may not convert include file types with the following extensions: *.exp : *.exp
 *.ilk *.res *.trg *.tlh *.idb *.pdb *.pch *.opt *.lib *.cab *.mov *.mp3 *.swf *.psp *.chi *.chm
 *.com *.dll *.exe *.hlp *.ivi *.ivt *.ix *.msi *.nls *.obj *.ocx *.rmi *.sys *.tmp *.ttf *.vbx *.wav
 *.wpg *.iso *.pdb *.eps *.mpeg *.mpg *.ram *.rm *.psd *.ai *.aif *.bin *.hqx *.snd *.mpe *.wmv
 *.wma *.xfd. Other files may not be able to be converted to TIFF for reasons including, but not
 limited to password protection. If reasonable efforts to obtain useful TIFF images of these files



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 are unsuccessful, the Receiving Party and the Producing Party will meet and confer with respect
 to such production as set forth in Paragraph 3.

         13.    Metadata. The Producing Party shall produce the metadata information described
 below with each production and in the format described in Paragraph 4 above, to the extent such
 metadata already exists. Nothing in this paragraph shall be construed to obligate a party to create
 new metadata that is not already in existence at the time of collection of the document. For images
 generated from native electronic documents, a Producing Party shall produce with each production
 the following fields, where reasonably available.

                   FIELD                               DEFINITION                      DOC TYPE

   1      CUSTODIAN OR NON-               Name of the person from whose files              ALL
          CUSTODIAL SOURCE                the document/data is being produced or
                                          name of data source location if not
                                          associated with single custodian
   2           BEGINBATES                 Beginning Bates Number (production               ALL
                                          number)
   3            ENDBATES                  Ending Bates Number (production                  ALL
                                          number)
   4           NATIVELINK                 Field containing link to native file             ALL
   5            TEXTPATH                  File path for OCR or Extracted Text              ALL
                                          files
    6            FROM                     Sender                                       EMAIL
    7              TO                     Recipient                                    EMAIL
    8              CC                     Additional Recipients                        EMAIL
    9             BCC                     Blind Additional Recipients                  EMAIL
   10           SUBJECT                   Subject line of Email                        EMAIL
   11          BEGATTACH                  First Bates number of a family range       EMAIL/EDOCS
                                          (i.e. Bates number of the first page of
                                          the parent email)
   12          ENDATTACH                  Last Bates number of a family range        EMAIL/EDOCS
                                          (i.e. Bates number of the last page of
                                          the last attachment)
   13   DATESENT (mm/dd/yyyy)             Date sent                                      EMAIL
   14   TIMESENT (hh:mm:ss TZ)            Time sent                                      EMAIL
   15        FileExtension                Document extension (e.g. .doc, .pst,           EDOCS
                                          .ppt, .xls, .pdf)
   16           AUTHOR                    Creator of document                            EDOCS
   17      ORIGINALFILEPATH               File path location where document was          EDOCS
                                          originally saved
   18     ORIGIN ALFILENAME               File name initially given when file was        EDOCS
                                          originally saved


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                   FIELD                               DEFINITION                      DOC TYPE

   19       DATECREATED                   Date (and time) file was created         EDOCS
   20     DATELASTMODIFIED                Date (and time) file was last modified   EDOCS
   21           HASH                      The hash value or “de-duplication key” EMAIL/EDOCS
                                          assigned to a document. PID’s for email
                                          families should also be preserved.
   22      CONFIDENTIALITY                Confidentiality Designation              All Docs

        14.     Discovery and Admissibility. Nothing herein shall be construed to affect the
 discoverability or admissibility of any document or data. All objections to the discoverability or
 admissibility of any document or data are preserved and may be asserted at any time.

        15.     Privilege

                 (a)    Consistent with Federal Rules of Civil Procedure, a Party withholding or
 redacting any responsive Document on the grounds of privilege, immunity, or any similar claim
 shall provide to the Receiving Party a log containing the information described in paragraph 15(b)
 (“Privilege Log”), except that:

                          (i)   the Parties shall have no obligation to log information generated
 after the filing of the complaint; and

                         (ii)    activities undertaken in compliance with the duty to preserve
 information (including, but not limited to, litigation hold letters) are protected from disclosure
 under Fed. R. Civ. P. 26(b)(3)(A) and (B). Notwithstanding the foregoing, if a party makes a
 good-faith assertion that specific documents should have been but were not preserved in the
 anticipation or conduct of litigation, the parties shall timely meet and confer in good faith to
 determine the appropriate scope, if any, of discovery regarding activities undertaken in compliance
 with the duty to preserve information or regarding the alleged failure to preserve such documents.
 In the event that the parties do not reach agreement, the party making the assertion may seek leave
 from the Court to request appropriate discovery. For avoidance of doubt, however, this paragraph
 does not constitute a waiver or other abrogation of the protections provided under Fed. R. Civ. P.
 26, nor does it constitute any concession that activities undertaken in compliance with the duty to
 preserve information (and documents related to those activities) cannot be withheld on the basis
 of the attorney-client privilege, work product, or other immunity to the extent applicable.

                 (b)     For each document withheld or redacted, the Privilege Log shall contain the
 following information: an entry number, a production number where an entry corresponds to
 redacted portions of a document, the author(s) of the document, the direct recipient(s) of the
 document, the copied recipient(s) of the document, the date on which the document was created
 or sent, a description of the document, and any privilege(s) asserted.




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                (c)    To the extent E-mail is searched, any E-mail stream (i.e., a series of E-mails
 linked together by-email responses and forwarding) that is withheld or redacted on the grounds of
 privilege, immunity or any similar claim shall be logged by the most recent, i.e., top-most E-mail
 in the stream.

                (d)     Each member of a family (i.e., E-mail attaching memorandum) that is
 withheld or redacted on the grounds of privilege, immunity or any similar claim shall be logged in
 the same entry as the parent E-mail, provided that each such entry describes all attachments that
 are also withheld as privileged.

        16.     Search Methodology. The following governs the search methodologies for
 Producing Party’s keyword searching to locate potentially responsive Documents contained in
 ESI. This Section shall supplement the parties’ obligations under the Federal Rules of Civil
 Procedure and shall not excuse a party from those obligations, including the obligation to search
 for and produce documents from locations (including both paper and electronic files) it knows or
 reasonably believes to have responsive information.

                 (a)    Each Party shall use its best efforts to filter out common system files using
 a commercially reasonable hash identification process. Hash values that may be filtered out during
 this process are located in the National Software Reference Library (“NSRL”) NIST hash set list.

                 (b)     With respect to the search terms, a conjunctive combination of multiple
 words or phrases (e.g., “computer” and “system”) narrows the search and shall count as a single
 search term. A disjunctive combination of multiple words or phrases (e.g., “computer” or
 “system”) broadens the search, and thus each word or phrase shall count as a separate search term
 unless they are contextually variants of the same word or phrase. Use of narrowing search criteria
 (e.g., “and,” “but not,” “w/x”) is encouraged to limit the production.

                (c)     Search Methodology

                        (i)     The Requesting Party may request the searching and production of
 custodial data from up to ten (10) individuals identified pursuant to Fed. R. Civ. P. 26(a)(1) or
 other individuals identified by the Requesting Party through any other means, including discovery,
 according to the methodology set forth herein. The Parties may jointly agree to modify these limits
 without the Court’s leave. The Court will consider contested requests for additional individuals
 by the Requesting Party as the case develops and based upon the Requesting Party’s showing of
 need. Regardless of the number of individuals whose custodial documents are searched, the Parties
 will cooperate to identify proper search terms and time frame (e.g., date ranges) on a custodian-
 by-custodian basis. The parties agree that the identification of documents using search terms shall
 be conducted by a third party electronic discovery vendor retained and directed by counsel of
 record.

                       (ii)    To the extent a Producing Party elects to use search terms to locate
 ESI that may contain potentially responsive Documents for the individuals specifically identified
 by the Requesting Party under paragraph 15(d)(i), the Producing Party shall identify ten (10) search


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 terms to be applied to all custodial data. The Producing Party must provide any such search terms
 to the Requesting Party within seven (7) days of the Requesting Party’s identification of a
 custodian for searching and production.

                         (iii) Within seven (7) days of identifying a custodian for searching and
 production, the Requesting Party may additionally propose up to five (5) search terms for the
 custodial data. The search terms shall be narrowly tailored to particular issues, and to the extent
 necessary, the Parties shall meet and confer to reach agreed-to search term lists and reasonable
 date restrictions. The Producing Party shall timely apply all the search terms proposed by both
 Parties to the custodial data, and shall timely provide the Requesting Party with resulting hit counts
 for each individual. The hit counts shall reflect the total number of documents that hit on each
 search term for each such individual, and shall separately identify the total number of responsive
 documents including all parents and attachments to documents that hit on each search term (i.e.,
 families) for each such individual. If requested, the Producing Party shall also timely provide the
 Requesting Party hit counts that reflect the total number of unique documents that hit on each
 search term for each such individual (i.e., documents that contain only that term and no other
 search terms).

                         (iv)    Within ten (10) days of the identification of a custodian for
 searching and production, or at a time mutually agreeable, the Parties shall timely meet and confer
 in good faith to determine whether the parties can agree on all search terms to be used for the
 custodial data to ensure that any requested searching and production of ESI is reasonable, narrowly
 tailored for specific and material issues in the case, does not impose an undue burden on the
 Producing Party, and is commensurate with the Producing Party’s obligations under the Federal
 Rules. For example, and without limitation, in the event that a particular search term selected by
 the Requesting Party is resulting in an excessive volume of ESI where that term appears, or
 numerous “false positives” (i.e., non-responsive and/or immaterial documents), the Parties will
 meet and confer in an attempt to further narrow the search requests. Such narrowing may include
 further limiting date ranges or modifying the search terms.

                        (v)     The Producing Party shall not unreasonably refuse additional
 requests by the Requesting Party to apply additional search terms for an individual where
 circumstances warrant additional searching, provided that such requests are narrowly tailored to
 the circumstances. Examples of such circumstances include, without limitation: (1) an individual
 having possession of information that the Requesting Party could not have anticipated with
 reasonable diligence to be in that individual’s possession, or having possession of information that
 the Requesting Party could not have appreciated with reasonable diligence to be relevant, (2)
 material changes to the Producing Party’s position on legal or factual issues, or (3) rulings or
 decisions of the Court, or changes in applicable law, that change the Requesting Party’s needs for
 discovery or affect the scope of permissible discovery. The burden of showing that any additional
 searching is warranted shall be on the Requesting Party.

                       (vi)    In the event of any requests to apply additional search terms
 pursuant to paragraph 16(d)(iv), the parties shall timely meet and confer as provided in paragraph



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 16(d)(iii) to ensure that any additional requested searching and production of ESI is reasonable, is
 narrowly tailored for specific and material issues in the case, does not impose an undue burden on
 the Producing Party, and is commensurate with the Producing Party’s obligations under the Federal
 Rules.

        17.     Processing Specifications

                (a)     The Producing Party shall collect and process documents using methods
 that avoid spoliation of data. The Producing Party shall use the following specifications in this
 paragraph when converting ESI from its native format into TIFF image files prior to production.

                (b)     All tracked changes shall be maintained, to the extent reasonably feasible
 upon collection, so that all tracked changes to a document are evident.

                (c)     Author comments shall remain or be made visible, to the extent reasonably
 feasible upon collection.

                (d)     Presenter notes shall be made visible, to the extent reasonably feasible upon
 collection.

                (e)    To the extent reasonably feasible, auto-populated fields, with the exception
 of autopopulating “page-number” fields, shall be replaced with text indicating the field name. For
 example, auto-populating “date” fields shall be replaced with the text “DATE.”

              (f)     To the extent documents in a foreign language are produced, processing of
 such documents shall be unicode-compliant.

                 (g)     Notwithstanding the foregoing, a Producing Party may produce Documents
 that were produced in a prior litigation in the same manner as they were produced in that litigation
 (e.g., TIFF, native files, etc.). The Producing Party must identify any Documents as having been
 previously produced in another action and include the action for which they were produced. A
 Receiving Party make seek re-production of any such Documents in accordance with the
 processing specifications above, provided the Documents are available to the Producing Party and
 the request is made for good reason.

                (h)    As used herein, “to the extent reasonably feasible” does not obligate a
 Producing Party to obtain new or updated software if the Producing Party’s current software is
 incapable of performing a particular processing specification listed in paragraph 17.

    18. CONFIDENTIAL INFORMATION – SOURCE CODE

 To the extent that any party wishes to obtain access to material designated as CONFIDENTIAL
 INFORMATION – SOURCE CODE, the following procedures shall apply:




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             (a) The Producing Party shall make all relevant and properly requested Source
             Code available for inspection on one stand-alone, non-networked personal
             computer running a reasonably current version of the Microsoft Windows operating
             systems (“Source Code Computer”). The Source Code Computer shall be locked
             down so that additional peripheral devices cannot be connected to the Source Code
             Computer by the Receiving Party. The Source Code Computer shall be configured
             to allow viewing and searching the Source Code, and may be configured by the
             Producing Party to run other mutually agreed upon operating systems, such as
             Linux, and software utilities for that purpose, provided that such utilities are
             reasonably necessary and non-destructive to the Source Code.

             (b) The Source Code Computer shall be made available to a Receiving Party for
             the inspection of Source Code from 9 am to 5 pm local time, Monday through
             Friday (excluding holidays), and other days and/or times, upon reasonable request
             until the close of discovery in this action. Access after hours shall be permitted
             only on three (3) business days advanced written notice. A Source Code Computer
             will be provided in the San Francisco and New York offices of counsel for the
             Producing Party.

             (c) The Source Code is to be treated as CONFIDENTIAL INFORMATION –
             SOURCE CODE, and the Receiving Party may not disclose the Source Code or the
             content of the Source Code to anyone who has not undertaken to abide by the
             Disclosure Agreement. No employee of the Receiving Party may access or obtain
             the Source Code.

             (d) Only outside litigation counsel and/or outside experts or consultants retained
             by outside counsel for purposes of this action (provided they have signed a
             Disclosure Agreement) may have access to any portion of the Producing Party’s
             Source Code. For each day that counsel for the Receiving Party requests a review
             of the Source Code Computer, it must give at least two (2) business days (and at
             least 48 hours) notice to the counsel for the Producing Party that it will be sending
             individual(s) authorized to review the Source Code made available on the Source
             Code Computer.

             (e) Proper identification of all authorized persons shall be provided prior to any
             access to the secure facility or the Source Code Computer. Proper identification is
             hereby defined as a photo identification card sanctioned by the government of a
             U.S. state, by the United States federal government, or by the nation state of the
             authorized person’s current citizenship. Access to the secure facility or the Source
             Code Computer may be denied, at the reasonable discretion of the Producing Party,
             to any individual who fails to provide proper identification.

             (f) The Source Code Computer shall be equipped with a printer to print copies of
             the Source Code on bright yellow colored, pre-Bates numbered paper, with each
             sheet of paper bearing a header and footer reading “CONFIDENTIAL


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             INFORMATION – SOURCE CODE – DO NOT REPRODUCE OR
             DISSEMINATE,” which shall be provided by the Producing Party. Counsel for
             the Producing Party will keep the originals of these printed documents, and copies
             shall be made for counsel for the Receiving Party on such paper after being stamped
             with production numbers, either within 2 business days of the time they are
             requested (if fewer than 10 pages) or within 4 business days (if more than 10 pages).
             Counsel for the Receiving Party may request up to four (4) copies of any portion of
             printed Source Code. No more than 10% or 50 pages of the total Source Code for
             any software release, whichever is less, may be in printed form at any one time, and
             all printed Source Code shall be logged by the Receiving Party as noted below.
             Additionally, the Receiving Party shall not print any continuous block of Source
             Code that results in more than 10 printed pages. If necessary, the Receiving Party
             may request to print additional pages in excess of the 50 pages of total Source Code
             for a software release, or continuous blocks that exceed 10 pages, which request the
             Producing Party shall not unreasonably deny. No electronic copies of the Source
             Code shall be provided by the Producing Party beyond the Source Code Computer.
             The Producing Party shall maintain a Source Code access log identifying, for each
             and every time any Source Code is viewed, accessed, or analyzed: (1) the name of
             each person who accessed the Source Code; (2) the date and time of access; (3) the
             length of time of access; and (4) whether any hard copies of any portion of Source
             Code were printed.

             (g) The Receiving Party’s outside litigation counsel of record, experts or
             consultants shall maintain and store any paper copies of the Source Code or any
             notes, analyses, or descriptions of Source Code at their offices in a manner that
             prevents duplication of or unauthorized access to the Source Code, including,
             without limitation, storing the Source Code in a locked room, cabinet, drawer or
             other container at all times when it is not in use.

             (h) No paper copies shall be made of the printed copies of any portions of the
             Source Code provided by the Producing Party to the requesting party other than
             copies attached to sealed court filings or to be appropriately used in depositions.

             (i) Except as otherwise provided within this paragraph, the Receiving Party will
             not create copies or duplicates or images (whether hand-copied or electronic or
             otherwise) of the Source Code from the paper copies for use in hard copy or on a
             computer (e.g., may not scan the Source Code to a .PDF or other image) or
             otherwise copy, save, and/or store the Source Code physically or onto any memory
             device or drive. The Receiving Party may only create an electronic copy or image
             of selected portions of the Source Code when relevant and necessary for any filing
             with the Court under seal, and testifying expert reports, and related drafts
             (hereinafter, “Selected Portions”). At least the first page of any such filing, expert
             report or draft containing Selected Portions shall be labeled “CONFIDENTIAL
             INFORMATION – SOURCE CODE” OR “HIGHLY CONFIDENTIAL


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             INFORMATION – SOURCE CODE – SUBJECT TO DISCOVERY
             CONFIDENTIALITY ORDER.” Additionally, each page containing Selected
             Portions shall bear a header and footer reading “HIGHLY CONFIDENTIAL
             INFORMATION – SOURCE CODE – DO NOT REPRODUCE OR
             DISSEMINATE.” The Receiving Party may not create an electronic copy or image
             of Selected Portions of the Source Code exceeding five (5) printed pages of code
             in a single document, including as an appendix to an expert report or other
             document. Any such electronic copy or image must be encrypted using
             commercially reasonable encryption software including password protection.
             Notwithstanding any of the foregoing, in no event shall the Receiving Party scan
             the paper copy of the Source Code using optical character recognition (“OCR”)
             technology or otherwise seek to render text-searchable any Source Code. Nor shall
             the Receiving Party seek to communicate electronically any copy of Source Code,
             except for Selected Portions, including through e-mail, FTP, or any other means of
             electronic communication.

             (j) No outside electronic devices, including but not limited to laptops, floppy
             drives, USB-connectable devices, zip drives, or other hardware shall be permitted
             in the secure room. Nor shall any cellular telephones, Blackberries, personal digital
             assistants (PDAs), cameras, voice recorders, Dictaphones, telephone jacks, or other
             devices be permitted inside the secure room.

             (k) The Receiving Party shall maintain a log of all copies of Source Code in its
             possession or in the possession of its retained experts or consultants, including the
             names of the recipients of any copies and the locations where the copies are stored.
             A copy of the log must be made available for inspection by the Producing Party at
             the reasonable request of the Producing Party.

             (l) Within sixty (60) days after the final conclusion of this litigation, the Receiving
             Party must destroy all copies of the Producing Party’s Source Code. In addition,
             all persons to whom the copies of the Source Code were provided must certify in
             writing that all copies of the Source Code were destroyed or returned to the counsel
             who provided them the information and that they will make no use of the Source
             Code or of any knowledge gained from the Source Code in any future endeavor.




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             (m) The Receiving Party’s outside litigation counsel of record, experts or
             consultants shall maintain and store the hard copy of selected pages of Source Code,
             and any notes, analyses, or descriptions of Source Code at their offices in a manner
             that prevents duplication of or unauthorized access to the Source Code, including,
             without limitation, storing the Source Code in a locked room, cabinet, drawer or
             other container at all times when it is not in use.



       DATED this 25th day of February, 2022.
                                                   BY THE COURT:


                                                   ____________________________
                                                   Daphne A. Oberg
                                                   United States Magistrate Judge




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